                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE

VFC PROPERTIES 10 LLC, as Successor                 )
Plaintiff to U.S. BANK NATIONAL                     )
ASSOCIATION,                                        )
                                                    )
         Plaintiff,                                 )    Case No. 3:10-cv-00945
                                                    )    Judge Aleta A. Trauger
v.                                                  )    Magistrate Judge John S. Bryant
                                                    )
THE REED FAMILY REAL ESTATE                         )
PARTNERSHIP TWO, L.P.,                              )
                                                    )
         Defendant.                                 )
                                                    )
                                                    )


               NOTICE OF FORECLOSURE OF MEDICAL OFFICE BUILDING


         Comes Ben A. Burns of Cornerstone Commercial Real Estate Service, the duly-appointed

receiver in this case (the “Receiver”), and respectfully gives notice to the Court and parties

hereto that the Project, consisting of a medical office building and other collateral as defined in

the Receivership Order (defined below), which served as the majority of the collateral in this

receivership, has now been foreclosed pursuant to Paragraph T of the Receivership Order, and is

under new ownership. Accordingly, the Medical Office Building (defined below) is no longer

part of the Receivership Estate and is no longer being managed by the Receiver. The Receiver

anticipates filing shortly a joint motion with VFC Properties 10 LLC, the Plaintiff herein, to

terminate this receivership. The Receiver respectfully notifies the Court and parties as follows:

         1.        By Order entered October 14, 2010 (Docket No. 16) (as amended by subsequent

order entered November 2, 2010 (Docket No. 25) (the “Receivership Order”), the Receiver was

appointed as a receiver over certain collateral identified in the Receivership Order.          The



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collateral includes improved commercial property in Spring Hill, Williamson County,

Tennessee, on which such property the Receiver has managed a medical office building (the

“Medical Office Building”).

         2.        On Friday, September 28, 2012, the Medical Office Building was foreclosed. The

Receiver is advised that the successful bidder at the foreclosure was Campbell Station

Investments, LLC (the “New Owner”).

         3.        The Receiver has been advised by the New Owner that Cassidy Turley will be the

management company which will manage the Medical Office Building going forward. Based on

this development and the foreclosure, the Medical Office Building is no longer part of the

Receivership Estate.

         4.        The Court and parties are further advised that the Receiver will be filing shortly a

final report and accounting, and a request that the Receivership be dissolved and the Receiver be

relieved of his duties and obligations under the Receivership Order.

         Respectfully submitted this 23rd day of October, 2012.


                                                 /s/ Thomas H. Forrester
                                                 Thomas H. Forrester, BPR No.10956
                                                 Gullett, Sanford, Robinson & Martin, PLLC
                                                 150 Third Avenue South, Suite 1700
                                                 Nashville, TN 37201
                                                 (615) 244-4994
                                                 tforrester@gsrm.com

                                                 Attorneys for Ben A. Burns, Receiver




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                              CERTIFICATE OF SERVICE


        I hereby certify that on this 23rd day of October, 2012, except as otherwise noted, a true
and exact copy of the foregoing has been served electronically via the Court’s CM/ECF
electronic filing system on the following:


Robert A. Guy, Jr., Esquire
Christy L. Hruska, Esquire
Frost Brown Todd LLC
The Pinnacle @ Symphony Place
150 Third Avenue South, Suite 1900
Nashville, Tennessee 37210
bguy@fbtlaw.com; chruska@fbtlaw.com


[Via first class mail, postage prepaid]
Mr. Thomas L. Reed, Jr.
The Medical Campus at Campbell Station
1634 Wexford Drive
Murfreesboro, TN 37129

[Via first class mail, postage prepaid]
R. Douglas Cutler, as General Partner and Guarantor
P.O. Box 681946
Franklin, TN 37068-1946


                                             /s/ Thomas H. Forrester
                                             Thomas H. Forrester




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